
— Appeal by the defendant from a judgment of the Supreme Court, Nassau County (Ort, J.), rendered August 26, 2005, convicting her of robbery in the first degree, upon her plea of guilty, and imposing sentence.
Ordered that the judgment is affirmed.
We have reviewed the record and agree with the defendant’s assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Spolzino, J.P., Santucci, Miller, Dickerson and Eng, JJ., concur.
